          Case:1:16-cv-00083-BLW
         Case    19-36065, 03/27/2020, ID: 11644025,
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                                                                             FILED
                      UNITED STATES COURT OF APPEALS                          MAR 27 2020

                                                                          MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                          U.S. COURT OF APPEALS




 WESTERN WATERSHEDS PROJECT,                      No.    19-36065
 an Idaho non-profit organization; et al.,
                                                  D.C. No. 1:16-cv-00083-BLW
               Plaintiffs-Appellees,              District of Idaho,
 v.                                               Boise

 DAVID BERNHARDT, Secretary of
 Interior; et al.,                                ORDER

               Defendants-Appellants,
 and

 WESTERN ENERGY ALLIANCE; et al.,

               Intervenor-Defendants.



 WESTERN WATERSHEDS PROJECT,                      Nos. 19-36067
 an Idaho non-profit organization; et al.,

               Plaintiffs-Appellees,              D.C. No. 1:16-cv-00083-BLW
 v.                                               District of Idaho,
                                                  Boise
 DAVID BERNHARDT, Secretary of
 Interior; et al.,

               Defendants,
 and

 WESTERN ENERGY ALLIANCE,



SL/Mediation
          Case:1:16-cv-00083-BLW
         Case    19-36065, 03/27/2020, ID: 11644025,
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               Intervenor-Defendant-
               Appellant.



 WESTERN WATERSHEDS PROJECT,                      No.    19-36068
 an Idaho non-profit organization; et al.,
                                                  D.C. No. 1:16-cv-00083-BLW
               Plaintiffs-Appellees,              District of Idaho,
 v.                                               Boise

 DAVID BERNHARDT, Secretary of
 Interior; et al.,

               Defendants,
 and

 WYOMING STOCK GROWERS
 ASSOCIATION; PETROLEUM
 ASSOCIATION OF WYOMING,

               Intervenor-Defendants-
               Appellants.



 WESTERN WATERSHEDS PROJECT,                      No.    19-36069
 an Idaho non-profit organization; et al.,
                                                  D.C. No. 1:16-cv-00083-BLW
               Plaintiffs-Appellees,              District of Idaho,
 v.                                               Boise

 DAVID BERNHARDT, Secretary of
 Interior; et al.,

               Defendants,
 and


SL/Mediation                               2
          Case:1:16-cv-00083-BLW
         Case    19-36065, 03/27/2020, ID: 11644025,
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 STATE OF WYOMING,

               Intervenor-Defendant-
               Appellant.



 WESTERN WATERSHEDS PROJECT,                      No.    19-36070
 an Idaho non-profit organization; et al.,
                                                  D.C. No. 1:16-cv-00083-BLW
               Plaintiffs-Appellees,              District of Idaho,
 v.                                               Boise

 DAVID BERNHARDT, Secretary of
 Interior; et al.,

               Defendants,
 and

 STATE OF IDAHO; et al.,

               Intervenor-Defendants-
               Appellants.



 WESTERN WATERSHEDS PROJECT,                      No.    19-36072
 an Idaho non-profit organization; et al.,
                                                  D.C. No. 1:16-cv-00083-BLW
               Plaintiffs-Appellees,              District of Idaho,
 v.                                               Boise

 DAVID BERNHARDT, Secretary of
 Interior; et al.,

               Defendants,

 and

SL/Mediation                               3
           Case:1:16-cv-00083-BLW
          Case    19-36065, 03/27/2020, ID: 11644025,
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 NATIONAL CATTLEMEN’S BEEF
 ASSOCIATION; PUBLIC LANDS
 COUNCIL,

                Intervenor-Defendants-
                Appellants.



 WESTERN WATERSHEDS PROJECT,                       No.    19-36073
 an Idaho non-profit organization; et al.,
                                                   D.C. No. 1:16-cv-00083-BLW
                Plaintiffs-Appellees,              District of Idaho,
 v.                                                Boise

 DAVID BERNHARDT, Secretary of
 Interior; et al.,

                Defendants,
 and

 STATE OF UTAH; et al.,

                Intervenor-Defendants-
                Appellants.



       Appellants’ unopposed motion to dismiss these appeals (Docket Entry No.

18) is granted. Fed. R. App. P. 42(b). The parties shall bear their own costs on

appeal.

       The conference previously scheduled for April 3, 2020, is canceled.




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          Case:1:16-cv-00083-BLW
         Case    19-36065, 03/27/2020, ID: 11644025,
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       A copy of this order shall serve as and for the mandate of this court.

                                               FOR THE COURT:


                                               By: Stephen Liacouras
                                               Chief Circuit Mediator




SL/Mediation                               5
